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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


    UNITED STATES OF AMERICA

          v.                                                        CASE NO.: 2:18-cr-47

    DONALD ADAMS,

                  Defendant.


                                                 ORDER

        On March 5, 2019 and March 7, 2019, the above cause having come before the Court on a

Motions hearing. The following rulings having been made orally, said rulings are hereby made

the judgment of the Court:

        Defendant’s Motion for a Jackson v. Denno hearing is TAKEN UNDER ADVISEMENT

OF THE COURT.1

        All other pretrial motions, Defendant’s Motions, docs. 25-33, and the Government’s

Motion for Reciprocal Discovery, doc. 57, are hereby DENIED AS MOOT.

        SO ORDERED, this 8th day of March, 2019.




                                            BENJAMIN W. CHEESBRO
                                            UNITED STATES MAGISTRATE JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA



1
  Defendant did not file a written Motion for a Jackson v. Denno hearing on the docket, but made an oral motion at
the Motions Hearing held on March 5, 2019. The Government requested that they be afforded time to prep for
argument on this motion and an additional Motions Hearing was held on March 7, 2019. The Motion was fully argued
and has been taken under advisement of the Court.
